Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 1 of 69




                    EXHIBIT 01
Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 2 of 69




                      In The Matter Of:
              Students for Fair Admissions, Inc. v.
        President and Fellows of Harvard College, et al.




                     Marlyn Elizabeth McGrath
                          June 18, 2015
                       Highly Confidential



                195 State Street • Boston, MA 02109
                      Nationwide - Worldwide
                   888.825.3376 - 617.399.0130
                     www.court-reporting.com




                       Original File Marlyn Elizabeth 6-18-15.txt
                     Min-U-Script® with Word Index
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 3 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015             41
                                       Highly Confidential


 1        Q.    Okay.    What's the -- what's the next one that you
 2   can think of?
 3        A.    Well, another one that overlaps is the program
 4   that each athletic coach conducts to identify promising
 5   athletes who might be suitable for Harvard College.
 6        Q.    And how is -- what are the mechanics of the
 7   identification of those students?
 8                      MR. WOLFSON:       Objection.
 9                      Go ahead.     To the extent you know, go
10              ahead and answer.
11        Q.    To the admissions office, how about that.
12                      MR. WOLFSON:       Right.
13        A.    We have 42 intercollegiate sports in a Division 1
14   program, the largest of any institution.                    Each of those
15   sports has a different method of identifying potential
16   athletes who might be plausible candidates for Harvard.
17        Q.    And how -- I guess, at what point does the
18   admissions office get involved in identifying and
19   recruiting those candidates?
20        A.    Each sport of those 42 sports has a liaison, a
21   member of my -- a member of my staff, who acts as, as I
22   say, as a liaison with the coach of the sport, and the
23   relationship, the sharing of communication, the sharing of
24   information between the coach and the liaison is different

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 4 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015     54
                                       Highly Confidential


 1        Q.    -- interviewers?
 2        A.    Yes.
 3        Q.    And Ms. Weaver's responsible for maintaining the
 4   substance of that database?
 5        A.    Correct.
 6        Q.    After that information is entered into the
 7   database, what steps does the admissions office take with
 8   respect to reaching out to the alumni interviewer or
 9   bringing them into the admissions process?
10        A.    We have a regular program of electronic
11   communication, and we also provide, by virtue of having
12   them in that database, access to, for example, the handbook
13   for interviewers and the handbook for schools committee
14   chairs, materials we discussed a moment ago.
15        Q.    And who actually schedules alumni interviews?
16        A.    A combination of the schools committee chair and
17   the actual person who is going to do the interview.
18        Q.    And does the admissions office have input into
19   that scheduling process?
20        A.    Not typically.
21        Q.    Does the admissions office identify for the
22   schools committee chair or the alumni interviewer who the
23   candidates they would like to have interviewed are?
24        A.    Yes.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 5 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                55
                                       Highly Confidential


 1        Q.    And who does that?
 2        A.    That is done via the database administered by
 3   Caroline Weaver.
 4        Q.    How -- is an alumni interview mandatory for
 5   applicants to Harvard?
 6        A.    No.
 7        Q.    Who decides whether or not an alumni interview
 8   should take place?
 9        A.    Often the decision is a regional one.                  That is to
10   say, in some areas, every applicant is interviewed, without
11   exception, which has been our traditional approach up until
12   recent years when the numbers grew very large.                    Some areas
13   do it on -- do it -- a few areas do it by waiting for us to
14   say, "It's very important that you interview these ten
15   viable candidates."      In other areas they do it when it's
16   possible for them, and there may be some variation in
17   practice.
18        Q.    Is the variation in practice in these areas just a
19   function of numbers?
20        A.    Usually, and location.
21        Q.    So it used to be the process that basically
22   everybody got an alumni interview.                Was it mandatory at
23   that time?
24        A.    We have never used the word "mandatory," to my

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 6 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                 69
                                       Highly Confidential


 1        Q.    And who oversees that program?
 2        A.    That has this year been overseen by Charlie --
 3   Charlene is really her name -- Kim.                And Pharen with a P-h,
 4   Pharen Bowman.     This year it was overseen jointly by those
 5   two people.
 6        Q.    Before this year, who was it overseen by?
 7        A.    I think just by Charlie Kim.
 8        Q.    Okay.   Any other programs in addition to HFAI and
 9   the Undergraduate Minority Recruitment Program that sort of
10   exist as dedicated efforts?
11        A.    Oh, yes.    We have something called UAC.               And UAC
12   stands for University Admissions Council.                    I did not choose
13   the words.    And it predates my time in the office.                  That
14   is --
15        Q.    Yes, please.
16        A.    And that's an organization of students who do a
17   variety of recruitment things.             I think of them as an
18   umbrella program that also works with the HFAI recruitment
19   and the UMRP recruitment program, but they're known for
20   their ability to provide housing, hosting opportunities for
21   students who visit us when we're able to do that.                   And they
22   play a role in the visiting student program when students
23   are admitted.
24        Q.    What determines whether or not a student needs to

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 7 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015              70
                                       Highly Confidential


 1   be hosted?    I assume we're talking about overnight when a
 2   student has to be hosted.
 3        A.    Yes.
 4        Q.    What determines whether or not they're provided an
 5   overnight hosting accomodation?
 6        A.    Availability, chiefly.            We say on our website that
 7   if a student is a senior and is thinking about applying to
 8   Harvard that we may be able to provide accommodation
 9   overnight for one night during term time.                    And we -- the
10   possibility of that is determined largely by availability
11   and timing, and so on.
12        Q.    Who oversees the UAC program?
13        A.    A team of people, but I think the right person to
14   name is Kaitlin, with a K, Howrigan.
15        Q.    Are there additional sort of dedicated programs
16   within the admissions office other than the ones that we've
17   discussed?
18        A.    Those are the ones.          Those are our programs.         I
19   can't think of any others.
20        Q.    Are you familiar with the standing faculty
21   committee on admissions?
22        A.    I am.
23        Q.    Can you tell me what that committee's role is?
24        A.    Well, the name of the committee is Standing

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 8 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                 71
                                       Highly Confidential


 1   Committee on Admissions and Financial Aid, just for formal.
 2   And, yes, I can tell you about that committee.                    It includes
 3   about 20 senior members of the faculty, teaching faculty,
 4   and a large handful of 30 or something senior
 5   administrators.
 6        Q.    Does that include administrators in the admissions
 7   office?
 8        A.    Ex officio it does.
 9        Q.    And who are the ex officio admissions personnel
10   whom --
11        A.    Dean Fitzsimmons, Sally Donahue, the director of
12   financial aid, and myself.
13        Q.    Who's Andrea Balian?
14        A.    Balian.   She's my staff assistant.
15        Q.    Does she serve as an administrative support role?
16        A.    She is the administrative support to that
17   committee.
18        Q.    And what does the -- what does the standing
19   faculty committee do with respect to the admissions
20   process?
21                     MR. WOLFSON:        Objection.
22                     Go ahead.
23        A.    I describe them or think of them as the -- as a
24   kind of oversight committee.            In practical terms, they do

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 9 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015             73
                                       Highly Confidential


 1        Q.    What are those meetings?
 2        A.    All of the meetings of the -- of the in-house
 3   office admissions committee, the administrative folks who
 4   comprise the working admissions committee to whom, in
 5   effect, that standing committee has delegated that, it's a
 6   word we've used, the day-to-day responsibility for
 7   assessing candidates.
 8        Q.    So let me -- so who's on the in-house admissions
 9   committee?
10        A.    The people I refer to as admissions officers or
11   senior admissions officers or, which we haven't talked
12   about, those members of the financial aid staff who also
13   have an admissions role also carry responsibility for
14   areas.
15        Q.    So let's just talk about that right now.               Who are
16   those people who are on the financial aid staff but have a
17   role with the admissions committee?
18        A.    Certain members of the financial aid staff whose
19   title is in addition financial aid officer or senior
20   financial aid officer or associate director, may include
21   financial aid in it, a number of them, probably ten or
22   perhaps over ten, also carry responsibilities for areas
23   which they handle as admissions officers.
24        Q.    And what sort of responsibilities would that

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 10 of 69


                             Marlyn Elizabeth McGrath - June 18, 2015                 74
                                        Highly Confidential


 1    include?
 2        A.     Same in that role as admissions person, the same
 3    as other people who were pure, if you will, admissions
 4    officers.
 5        Q.     Okay.    So they would --
 6        A.     The full service.
 7        Q.     They would participate in reading files and
 8    working with --
 9        A.     Working with alumni and working with schools.
10        Q.     They'd be assigned to a docket area?
11        A.     Uh-huh.
12        Q.     That's a yes?
13        A.     Yes.
14        Q.     Yes.    And is anyone from the standing faculty
15    committee actually a member or participant of the in-house
16    admissions committee?
17        A.     They're all -- we consider them all members,
18    because we consider us their delegatees.                    They vary greatly
19    in their participation in the subcommittee meetings and the
20    actual meetings of the committee.
21        Q.     And are there members of this standing faculty
22    committee who take a more active role specifically with
23    respect to the in-house admissions committee sessions?
24        A.     Yes.    There are some who are more often present in

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 11 of 69


                             Marlyn Elizabeth McGrath - June 18, 2015     75
                                        Highly Confidential


 1    the meetings.
 2        Q.    Who are the faculty members on the committee who
 3    are most often present?
 4        A.    The most frequent attender is professor of German,
 5    Peter Burgard.
 6        Q.    Other members who are more frequent in their
 7    participation?
 8        A.    There is, although he was not active this year,
 9    but there is a physicist named Amir Yacoby, who has on a
10    number of occasions come to committees -- come to
11    committee.
12        Q.    I'm going to ask you to spell Amir Yacoby.
13        A.    A-m-i-r, Y-a-c-o-b-y.
14        Q.    Thank you.
15        A.    Ordinarily, they don't come to the -- to those.
16    Ordinarily they -- their participation in the committee
17    deliberations is usually through reading, reviewing
18    folders, and giving us their comments on applicants.
19        Q.    When you say "they," are you talking --
20        A.    I mean the members of the teaching faculty who are
21    on the Standing Committee on Admissions and Financial Aid.
22        Q.    Do all members of the committee review and read
23    files?
24        A.    That's a role that they're all supposed to take.

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 12 of 69


                             Marlyn Elizabeth McGrath - June 18, 2015             76
                                        Highly Confidential


 1    So ordinarily, yes.
 2        Q.     Okay.    Are there, besides Mr. Burgard and Mr.
 3    Yacoby, are there other faculty members who take a more
 4    active role on a comparative basis than the rest of the
 5    committee?
 6        A.     Do you mean in reading or in --
 7        Q.     So let's -- let me rephrase the question.
 8               Are there members of the faculty committee who are
 9    more active with respect to reading files than other
10    members?
11        A.     Yes.
12        Q.     Okay.    And who are the members of the committee
13    who are most active in reading files?
14        A.     The ones who are most active in reading files
15    typically are in the sciences.             Although Professor Burgard
16    and one other humanist have read a large number this past
17    couple of years.
18        Q.     Who's the other humanist?
19        A.     Professor Thomas in classics.                But typically the
20    biggest load of reading has been done by the people in the
21    natural sciences.
22        Q.     And can you think of three or four names of the
23    people who are --
24        A.     Yes.    Professor Guidotti, which is

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 13 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015               77
                                       Highly Confidential


 1    G-u-i-d-o-t-t-i.     Professor Woollacott.               I'm trying to
 2    think of others here.      I'm losing my capacity for
 3    remembering which one had the most this year.                    Professor
 4    Mitzenmacher.    Those are three who read quite a lot this
 5    year.    We can, if necessary, we can come up with other
 6    names if that would be helpful.
 7        Q.    Is -- are the -- are comments from faculty members
 8    who review files accorded any additional significance in
 9    the admissions process?
10        A.    Yes.   They're accorded great significance.
11              May I add a name to the list of --
12        Q.    Please.
13        A.    -- people I gave you that was just too obvious for
14    me to notice.    A guy named Joe Harris, who's a
15    mathematician, who reads a very large numbers of
16    mathematics.
17        Q.    They're accorded great significance?
18        A.    Yes.
19        Q.    And why is that?
20        A.    In those cases where the distinguishing excellence
21    of the candidate is going -- seems likely to be unusual
22    academic talent or achievement, that determination is
23    always made by a member of the faculty committee, or a
24    member of the faculty at least.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 14 of 69


                               Marlyn Elizabeth McGrath - June 18, 2015             93
                                          Highly Confidential


 1                      MR. WOLFSON:          So in the future, don't
 2               reveal the discussions that you have with
 3               counsel.
 4                      THE WITNESS:          Oh, I'm sorry.              I
 5               didn't --
 6    BY MR. STRAWBRIDGE:
 7        Q.     I'm not so sure that you actually revealed any
 8    privileged information.
 9        A.     I took advice.
10        Q.     But let me just preface this, and I probably
11    should have said this at the beginning.                     If at any point
12    your answer depends entirely on information that was
13    provided to you on advice of counsel, please note that.
14        A.     I was aware of this.             I shouldn't have made that
15    mistake.    I was aware of the general point.
16        Q.     That's all right.
17               And does the three-year retention policy continue
18    until this day?
19        A.     Yes.
20        Q.     As part of this litigation, did you receive
21    instructions to maintain documents?
22        A.     Yes.   Yes.
23        Q.     And that includes any physical files --
24        A.     Yes.

                                           O'Brien & Levine
                                888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 15 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015            94
                                       Highly Confidential


 1        Q.    -- that otherwise would have been --
 2        A.    Right.    Right.
 3        Q.    -- slated for destruction?
 4        A.    Right.    Yes, that's correct.
 5        Q.    And so back to the sort of the original question,
 6    up until what point -- strike that.
 7              These files typically, the admissions files,
 8    whether admitted and going on to become essentially the
 9    student file, or maintaining for three years because the
10    student either didn't get in or turned Harvard down --
11        A.    Right.
12        Q.    -- these were actually maintained as a physical
13    hard copy file?
14        A.    Yes.
15        Q.    And what would go in that file?
16        A.    The materials submitted to us by the student, the
17    application and our application supplement, and any other
18    additional materials submitted by the student, you know,
19    copy of the poems she wrote or additional material the
20    student wanted to provide for us to explain her case.
21              In addition to that, the SSR, the secondary school
22    report, which includes a letter of recommendation on behalf
23    of the school, whether it's written by the guidance
24    counselor or the principal, and a transcript.                    If the

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 16 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015        95
                                       Highly Confidential


 1    student has been in more than one school in four years, we
 2    have the corresponding material from the other school as
 3    well.    And two teacher letters of recommendation.              We
 4    invite people -- we ask them to do it, and so we have
 5    those.    Test scores, which are submitted directly to us
 6    electronically by the testing agencies.
 7              At the point when an interview has been reported
 8    and when we have an interview report, that interview report
 9    is part of the folder, electronic now, but paper formerly.
10              And any other material that people want to send.
11    I mean somebody's, you know, priest can write or somebody's
12    godmother can write, or you know, anything else that's sent
13    to us we read, and we include in the folder.
14              Some materials don't fit in a folder, and -- so a
15    student, for example, who submits for our review a musical,
16    a recording of a musical performance, a note is put in the
17    file that such a -- such a piece of evidence has been
18    provided.    Sometimes if a student provides slides of
19    artwork, that may find its way into the file, or it may be
20    too big and be in a drawer, and then there will be a note
21    in the file that there is such a thing in the file and
22    either the actual or the signed -- or a notation that
23    somewhere in the office is additional material.
24              So it should include all of the materials that are

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 17 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015          96
                                       Highly Confidential


 1    available for the review of the committee.
 2        Q.    In addition to the report from the interviewer, I
 3    assume you meant the alumni interviewer?
 4        A.    Yes, I did.      But I should have -- could have noted
 5    that if there was a staff interview done as well, if the
 6    student happened to come on the first-come, first-served
 7    basis that we offer staff interviews, any other interviews
 8    would be included.
 9        Q.    What about any additional analysis of the -- of
10    the application from people in your office?
11        A.    People in my office.            There's -- there is a space
12    on the electronic thing, and there's a piece of paper in
13    the paper version, where people, as they review, once the
14    folder's complete that I just described, once that's
15    complete and begun to be read, the people who read the
16    folder, the readers make their comments on a sheet of
17    paper, which then is available to the subsequent readers
18    and to the full committee.
19        Q.    Is that sometimes referred to as a summary sheet?
20        A.    Yes.
21        Q.    And are comments from admissions officers or other
22    people in your office always placed on the summary sheet
23    either in the electronic or paper format, depending on
24    timing?

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 18 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                 97
                                       Highly Confidential


 1        A.    That's the idea, yes.
 2        Q.    Are they ever, you know, written in the margins or
 3    otherwise notated in the file?
 4        A.    People do note -- do annotate files.                   It's not as
 5    easy online.    But people may write comments in the -- in
 6    the corner of the essay or the corner of the recommendation
 7    alert.
 8        Q.    And are those comments always picked up into the
 9    summary sheet?
10        A.    No.   There's -- but the entire folder is available
11    for any reader who is reading it.
12        Q.    Besides any comments written in the margin as well
13    as the summary sheet, is there any other documents that
14    would go into a file at any point in time during the
15    admissions process?
16        A.    I should have mentioned those candidates who were
17    recruited athletes, there will be a review sheet, an
18    assessment sheet, talking about what the strengths of
19    the -- the athletic strengths of the case are.                    And in the
20    case -- in those cases that are sent for review by members
21    of the faculty, that's six or seven hundred cases or
22    something in a year, those comments are submitted to the
23    file and are available to the readers of the folder.
24        Q.    Are the athletic strengths, those comments, were

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 19 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015               125
                                       Highly Confidential


 1    because the area person asked me -- wanted me to know and
 2    asked me about whether they should go.
 3        Q.    You don't remember the name of this person?
 4        A.    I don't.
 5        Q.    Do you remember who the area coordinator was?
 6        A.    Yes, I do, I think.          The person who told it to me
 7    was Chris Looby is his name.           I think he was the area
 8    person who heard it directly.
 9        Q.    Do you recall when this was?
10        A.    I think it was -- I think it was two years ago.
11    It may have been last spring.            It may have been a year ago.
12    I mean, you know, a year ago, but it may also have been two
13    years ago.    It was after the process was over.                 Also, the
14    Connecticut Club, the only other one I remember is that the
15    Connecticut Club had a similar, they wanted to discuss the
16    topic because some member of the club, who I never knew who
17    it was, didn't ask, felt that this was a topic for
18    discussion.
19        Q.    Before we go on to the Connecticut Club, do you
20    remember what the basis of the alumnus who was in New York
21    State, the basis of her complaint was?
22        A.    No, I don't.     I don't think I ever knew that,
23    actually.
24        Q.    And is that also true with respect to the

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 20 of 69


                               Marlyn Elizabeth McGrath - June 18, 2015                126
                                          Highly Confidential


 1    Connecticut Club?
 2        A.    Yes.    Yes.
 3        Q.    Who would have had responsibility for
 4    communications with the Connecticut Club?
 5        A.    I don't remember who this was, actually, who
 6    brought this to my attention.               It could have been Grace
 7    Cheng, but I think I'm remembering that wrong.                      I don't
 8    remember.    It came to me indirectly.
 9        Q.    How did it come to you?
10        A.    Some member of my staff.                Might have been Grace.
11        Q.    I'd like to hand you a document that I'm going to
12    ask the reporter to mark as Exhibit 1.
13                      (Exhibit 1, Harvard University fall
14              2015 application supplement, marked.)
15                      MR. WOLFSON:          Be sure you look
16              carefully at the exhibit.
17        Q.    I'd ask you to review the exhibit and let me know
18    when you've had a chance to look it over.                      (Pause.)   Have
19    you had a chance to review this?
20        A.    Yes, I have.
21        Q.    Do you recognize this document?
22        A.    I do.
23        Q.    What is this document?
24        A.    That's what's known as the Harvard supplement.

                                           O'Brien & Levine
                                888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 21 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015            144
                                       Highly Confidential


 1        Q.    Is there anybody else who you can think of who has
 2    more than one-off communication with you regarding
 3    admissions to students at Harvard?
 4        A.    The president from time to time is contacted by
 5    people, lots of people who have children or, you know,
 6    people applying and they wish to advocate, and whatever
 7    commentary comes to the president, she passes along to me.
 8        Q.    Is that communication generally included in an
 9    applicant's file?
10        A.    Yes.
11        Q.    Is it always included in an applicant's file?
12        A.    Yes, it is.
13        Q.    The same with communications from the Office of
14    Government and --
15        A.    Yes.
16        Q.    -- Community Affairs?
17        A.    Yes.
18        Q.    And the same with information communicated from
19    the alumni association or the office of development?
20        A.    If it's substantive and specific, it might be
21    included as part of the file.             If it's partly just going
22    over a list of names to watch, we probably would -- we
23    might not put it in the folder.              We might simply watch that
24    candidate, make sure that -- it might not be in the file.

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 22 of 69


                             Marlyn Elizabeth McGrath - June 18, 2015                145
                                        Highly Confidential


 1                      MR. STRAWBRIDGE:           This is a good
 2              stopping point for me.
 3                      MR. WOLFSON:        Sure.       Okay.
 4                      MR. STRAWBRIDGE:           We can take lunch
 5              right now.     Thank you so much.
 6                      THE WITNESS:        You're welcome.
 7                      (Recess:      12:35 p.m. to 1:17 p.m.)
 8    BY MR. STRAWBRIDGE:
 9        Q.    Okay.    Good afternoon --
10        A.    Good afternoon.
11        Q.    -- Ms. McGrath.
12              When an applicant fills out the Common Application
13    or the Universal College Application, they have the
14    opportunity to indicate their race or ethnic background?
15        A.    They do.
16        Q.    Okay.    And do you know what categories they are
17    presented to select?
18        A.    I always have to remind myself.                   It's a drop-down
19    menu, as I understand it.
20        Q.    Let me make sure that's actually on the --
21                      MR. STRAWBRIDGE:           I'm going to ask
22              the court reporter to mark this as Exhibit
23              No. 2.    I ask the court reporter to mark
24              this as Exhibit 2 and this as Exhibit 3.

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 23 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      146
                                       Highly Confidential


 1                     (Exhibit 2, Universal College
 2              Application five-year admissions
 3              application, marked.)
 4                     (Exhibit 3, The Common Application
 5              first-year application, marked.)
 6        Q.    Starting with Exhibit No. 2, Ms. McGrath, which is
 7    the Universal College Application, I think if you turn to
 8    the second page at the very top --
 9        A.    Yes.
10        Q.    -- that's the section that includes ethnicity?
11        A.    Yes.
12        Q.    And it asks two questions; correct?
13        A.    Yes.
14        Q.    The first is whether you are Hispanic or Latino?
15        A.    Right.
16        Q.    And the second says, "How would you describe your
17    racial background?"     And then it lists "Asian," "Black or
18    African-American," "American Indian or Alaskan Native,"
19    "Native Hawaiian or Other Pacific islander" or "White"; is
20    that accurate?
21        A.    Yes.
22        Q.    And with respect to the Common Application, which
23    is Exhibit No. 3, under the "Demographics" section on page
24    1 --

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 24 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                    147
                                       Highly Confidential


 1        A.     Yes.
 2        Q.     -- the right column, it again -- well, not again,
 3    but it also asks, "Are you Hispanic/Latino?"                      And then it
 4    says, "Regardless of your answer to the prior question,
 5    please indicate how you identify yourself."                      And, again, it
 6    gives the option "American Indian or Alaskan Native,"
 7    "Asian (including Indian subcontinent and Philippines),"
 8    "Black or African-American (including Africa and
 9    Caribbean)," "Native Hawaiian or Other Pacific Islander,
10    (Original Peoples)," or "White (including Middle Eastern)";
11    is that accurate?
12        A.     Yes.
13        Q.     When -- you mentioned earlier that when Harvard
14    receives information from standardized testing services, it
15    records information regarding ethnic identities of
16    potential targets, or it collects information, I suppose,
17    of ethnic identities and potential targets for recruitment;
18    correct?
19        A.     The testing agency?
20        Q.     The testing agency collects them and provides them
21    to Harvard?
22        A.     Yes.
23        Q.     And does Harvard enter that information into its
24    database?

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 25 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015         148
                                       Highly Confidential


 1        A.    Yes.
 2        Q.    Okay.    Does Harvard also enter into its database
 3    the indications that applicants make with respect to their
 4    race or ethnic identity under the questions we just
 5    reviewed --
 6        A.    Yes.
 7        Q.    -- on the common applications?
 8        A.    Yes.
 9        Q.    And do you know what -- are the categories that
10    are listed on the Common Application and the Universal
11    College Application the categories Harvard uses in its
12    database?
13        A.    These are, yes.
14        Q.    Okay.    Do you have -- are there any other race or
15    ethnic category, categories, that are not included on these
16    applications that Harvard tracks on its database?
17        A.    We sometimes see "Other."              And I think that in
18    some of our reporting, that may be "White," but I'm not
19    sure.    That's not a question I can answer with confidence.
20        Q.    Okay.    Do you know whether or not Harvard ever
21    receives conflicting information from the standardized test
22    services and the actual applications received about a
23    particular recruitment target's racial identification?
24        A.    I understand that we do.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 26 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015         149
                                       Highly Confidential


 1        Q.    And what does it do to resolve that conflict, if
 2    anything?
 3        A.    We don't really resolve the conflict.                  The
 4    question -- we don't really resolve the conflict.
 5        Q.    Okay.    So what does it do when it gets either
 6    conflicting or additional information?
 7        A.    For the database for applications, the one that is
 8    the -- the racial preference choice associated with that
 9    candidate is whatever he or she indicates at the time that
10    she applied on the application, Universal or Common
11    Application.     I understand that we retain in our database
12    all information pertaining to ethnicity, but we don't
13    attempt to reconcile it.
14        Q.    So the information that Harvard would use going
15    forward for its own reporting purposes would be the
16    information reported on the equivalent of Exhibits 2 and 3?
17        A.    Yes.
18        Q.    What does Harvard do if an applicant does not
19    indicate an ethnicity on either of these applications?
20                      MR. WOLFSON:       Objection.
21                      Go ahead.
22        A.    We don't necessarily do anything.
23        Q.    Does Harvard make any attempt to ascertain the
24    race of an applicant through other parts of its

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 27 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      151
                                       Highly Confidential


 1    field where Harvard tracks for its own purposes the
 2    ethnicity it has identified through the other materials?
 3        A.    Not to my knowledge, not a field.
 4        Q.    Would Harvard -- does Harvard report the
 5    identification of race that -- of the applicants that it
 6    admits and enrolls to the federal government?
 7        A.    Yes, we do.
 8        Q.    And is the basis for that reporting a database
 9    that the admissions office maintains?
10        A.    Yes.
11        Q.    So is it your testimony that in all instances, the
12    data reported to the federal government will match
13    precisely the data that was self-reported on the Common
14    Application or Universal College Application?
15        A.    I can't tell you that with confidence.
16        Q.    Okay.    Well, why can you not say that with
17    confidence if Harvard makes no other change to its database
18    apart from what the candidate self-identifies on one of the
19    two common applications?
20        A.    What I thought I was answering was the question
21    about our own database.
22        Q.    Okay.    So please explain.
23                      MR. WOLFSON:        Objection.
24                      Go ahead.

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 28 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015          152
                                       Highly Confidential


 1        A.    The reporter to the -- the registrar is, I
 2    believe, the transmitter of -- of those data to the
 3    government, and I'm not certain, but that's what I think is
 4    true, that the reason I couldn't tell you for certain was
 5    that if it's the registrar, I can't tell you what other
 6    sources they may have.
 7        Q.    Does your office provide its database to the
 8    registrar's office?
 9        A.    Yes.   We provide the -- we provide to the
10    registrar's office at the time that we're conveying the --
11    conveying the student to freshman status, we provide the
12    registrar's office and the freshman dean's office with the
13    data that we have concerning the applicants who are about
14    to enroll.
15        Q.    That would occur at the time that the applicant
16    has accepted Harvard's invitation to enroll?
17        A.    Yes.   After the applicant is accepted.
18        Q.    What does Harvard do -- strike that.
19              In a situation where the applicant does not self-
20    identify on one of the universal applications but Harvard
21    learns through other materials submitted of the applicant's
22    race or ethnic background, what does Harvard do with that
23    information?
24        A.    We -- we bear it in mind.              We do not change the

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 29 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      157
                                       Highly Confidential


 1        Q.    Is there any other part in the admissions process
 2    where an applicant is -- would be asked to identify their
 3    race, apart from the universal applications and/or their
 4    testing service information that's conveyed to Harvard?
 5        A.    Not asked to be identified.
 6        Q.    And I assume -- am I right to assume that your
 7    distinction about being not asked, there may be occasions
 8    for them to volunteer or provide that information?
 9        A.    Yes.
10        Q.    If the person does not self-identify in one of the
11    universal applications but is later determined to, for
12    example, be African-American through other materials they
13    submit as part of their application, is that person's race
14    taken into account with respect to Harvard's conclusions
15    regarding the candidate's merits for increasing Harvard's
16    diversity?
17        A.    You know, every bit of information we have or are
18    told gets taken into account.
19        Q.    So that would include information about race
20    that --
21        A.    It could well, yes.
22        Q.    -- that may have arisen outside of the self-
23    identification?
24        A.    Yes.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 30 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                     158
                                       Highly Confidential


 1        Q.    I'd like to talk a little bit about how the office
 2    basically goes through the admissions process.                      And perhaps
 3    why don't you tell me if this is correct.                   The logical
 4    starting point, from my perspective, might be to talk a
 5    little bit about the early action program.                       Is that -- in a
 6    particular admissions cycle, is that essentially the first
 7    wave of admissions decisionmaking?
 8        A.    It is.
 9        Q.    Can you describe to me how early applications are
10    handled in your office from the time they are received
11    until decisions are made?
12        A.    The -- the first person to read a completed folder
13    is the area person, the area officer in charge of
14    candidates from that geographic region and that group of
15    schools, who would review the folder, read all the material
16    it contains at that moment, and write comments about the
17    case and also make, for the purposes of clarity, certain
18    numerical annotations, which we call a profile, for various
19    elements, aspects, of the candidacy.                So as the area person
20    reads it, he would make ratings of various aspects of the
21    candidate.
22        Q.    What are the aspects of the candidate that are
23    rated numerically?
24        A.    There are -- for the candidate himself, there are

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 31 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                   159
                                       Highly Confidential


 1    four:    Academic, extracurricular, not including athletic,
 2    athletic, and personal.        And then there is reflecting some
 3    combination, not an average or anything, an overall, an
 4    overall rating made considering all of those elements.                     But
 5    those are the four -- the four aspects, the four angles.
 6        Q.    And what are the numerical options that are used
 7    to rate those four categories?
 8        A.    We always -- the training materials, I suspect,
 9    say 1, 2, 3, 4, 5, 6.      The ones that we use to evaluate
10    degree of excellence or participation are 1, 2, 3, 4.                  5 is
11    a special placeholder to indicate family responsibilities
12    at home or very limited resources that would make it
13    unlikely that the person could do extracurricular
14    activities or academic or athletic activities.
15              But the evaluation of what has been done is
16    typically 1 through 4, with 1 being very unusually strong
17    and 4 being either a negative or a blank.                   A person who
18    participated in no athletics, it would be a 4, but that's
19    not necessarily a negative.          It's just the absence of
20    participation.
21        Q.    So each of the categories is typically rated 1
22    through 4?
23        A.    1 through 4.     1 through 4.
24        Q.    And a lower number is a stronger candidate?

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 32 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      160
                                       Highly Confidential


 1        A.    A lower -- yes, a lower number is a stronger
 2    candidate, and yet a plus, which you might think takes you
 3    closer -- well, a 1 plus is better than a 1, and a 1 minus
 4    is more like a 2, even though 2 is a larger number, if you
 5    see what I mean.
 6        Q.    Yes.   Was this scoring system in place when you
 7    took over the office?
 8        A.    It was.
 9        Q.    So a 1 plus is better than a 1?
10        A.    Yes.
11        Q.    In terms of a stronger candidate?
12        A.    Yes.
13        Q.    Are -- is the athletic category rated only for
14    people who are candidates for athletic scholarships?
15        A.    The reason we maintain that data cell is that we
16    want to be able to derive -- we don't have athletic
17    scholarships, by the way.
18        Q.    Thank you for correcting me on that.
19        A.    But we -- but we do generate at the end of the
20    process when the admissions thing is complete, among other
21    things, the list I told you about that we share with the
22    Ivy League, so we want to be sure we can report faithfully
23    all of the people who were technically recruited athletes.
24    And a 1 in the athletic column is by definition a recruited

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 33 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015              161
                                       Highly Confidential


 1    athlete.    But a 2 could mean a really, really good athlete
 2    in school, but not recruited by us.               And a 3 could mean
 3    quite an active, good athlete.
 4        Q.     So participation or accomplishments in athletics,
 5    apart from being a recruited athlete at Harvard, are still
 6    rated?
 7        A.     Yes.   But a 1 means one thing, which is recruited
 8    athlete, so you can root that out.
 9        Q.     And no one would get a 1 if they're not a
10    recruited athlete regardless of --
11        A.     No, no one would get a 1.
12        Q.     So what goes into the academic category
13    assessment?
14        A.     So each of these assessments is made by an
15    individual reader.     Each reader gets -- at least each of
16    the scheduled, assigned readers gets to fill out that
17    rating himself.     The senior member and the -- what goes
18    into the academic one is all of the academically relevant
19    material we have in the folder, which would include grades
20    and scores and letters of recommendation.                   There are two
21    typically from teachers.        And perhaps additional
22    information, such as winning physics prizes or being an
23    olympiad or winning mathematics prizes or winning a poetry
24    prize or something like that.            That may inform the academic

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 34 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015         162
                                       Highly Confidential


 1    rating.
 2        Q.    I guess that maybe leads to the next question,
 3    which is:    What is the difference between, you know, some
 4    sort of what I would think of as an academic
 5    extracurricular accomplishment and the extracurricular
 6    category?    How do you divide those two things?
 7        A.    Well, with judgment, and not always consistently.
 8    For a lot of -- again, because the formula does not
 9    determine admission, it's a guide, some members of the
10    staff will put all of that information, all of that
11    assessment in the first column, and typically that would be
12    the way to do it.     But sometimes if someone is a writer and
13    that's where they spend all of their so-called
14    extracurricular non-class time, the reader might well say
15    that's -- instead of making them a 2 academic, that might
16    make you a 2 extracurricular.            It is a matter of judgment.
17        Q.    Are there any written guidelines that inform the
18    exercise of judgment in trying to determine what's an
19    academic event versus an extracurricular event?
20        A.    Yes.   Generally speaking, but it's not terribly
21    detailed, in the reader sheet -- I mean in the reading
22    instructions, there are comments about what's, you know,
23    what goes in the academic column, what goes in the
24    extracurricular column.        I think the training materials may

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 35 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015             163
                                       Highly Confidential


 1    or may not have anything in writing about that, but that is
 2    a topic for training people.
 3        Q.    So what are some examples that you can give me of
 4    things that would go into the extracurricular column?
 5        A.    It might be poetry for some reader and some
 6    candidate.    It might be debating.            It might be, you know,
 7    any of the sort of nonathletic things that people often do,
 8    musical activities, performance or participation in chorus
 9    kinds of events.     Political -- political organizational
10    activities, you know, community service activities.                Being
11    president of the student body at a school that's bigger
12    than four would be typically a 2 extracurricular.
13    Otherwise, it might not be.          But that would be a
14    significant position of both trust and -- probably time,
15    time commitment.
16        Q.    Athletics, I take it, is fairly self-explanatory;
17    it's some kind of --
18        A.    It sounds as though it's self-explanatory, and it
19    is, as I said, the 1 is clear, which is recruited athlete
20    status.   If you know it at the time.               You may not.   And
21    most other sports are fairly common sports that we've heard
22    of, you know, fencing, maybe, and baseball, in someone.
23    But a student who is an equestrian person, a horseback
24    rider or something, there are -- for some people that will

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 36 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                164
                                       Highly Confidential


 1    turn up in the athletic column.             For many of the rest of
 2    us, it would turn up in the extracurricular column.                  Again,
 3    it's a question of the judgment of the reader.
 4              But generally speaking, that's -- athletic is
 5    construed by the person reading it, and we have some
 6    guidelines, again, about what would be a 3, what would be a
 7    3 plus, perhaps, what would be a 2.               And we know what a 1
 8    is and we know what a 4 is.
 9        Q.    And then the last category was personal.
10        A.    Uh-huh.
11        Q.    Can you give me an example of what goes in the
12    personal column?
13        A.    Yes.   That can have various elements.                 If the
14    student in writing about himself or herself presents a very
15    appealing personal picture, and that can mean -- appealing
16    can be a wide variety of appeal, you know, a sensitive
17    writer, a person with humor, a person who seems very
18    outward directed, and that's appealing, and if that or some
19    other attractive personal elements are echoed or
20    supplemented, reinforced by the other materials in the
21    folder, typically the SSR, the secondary school report, the
22    counselor letter, who may give us -- which may give us a
23    good deal of information or may not about the candidate's
24    personal style, personal affect, relationships to other

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 37 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015               167
                                       Highly Confidential


 1    is a 3 and who is a 2 and who is a 1?
 2        A.    We give guidelines.          Cutoffs is something we don't
 3    have, but we do give guidelines.
 4        Q.    And what are those guidelines?
 5                     MR. WOLFSON:        Objection.
 6                     Go ahead.
 7        A.    The reading instructions have some guidelines,
 8    which go something like this:            That a 4 academic --
 9    starting at the end now, a 4 academic is someone with
10    scores, you know, 500 or below or something -- this is
11    again, it explicitly says "rough guide," but someone who
12    has scores and/or grades that would make -- that would feel
13    like the equivalent of a 500 or below.
14              So, for example, a person who has 650 scores but
15    has C's and D's is probably a 4 academic.                   So you have to
16    look at both of those things at once.                 A 3 academic is
17    someone more in the sort of 600's, scores in the 600 range,
18    and, you know, call it B's on the transcript, something
19    like that.
20        Q.    When you're talking about the 600's range, are you
21    talk about a particular set of test scores?
22        A.    Well, I'm using -- yes.            Thank you for asking.
23    I'm using the language of the College Board of the ETS, but
24    the equivalent -- and the equivalent number -- and we have

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 38 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                168
                                       Highly Confidential


 1    conversion chart -- the equivalent number in ACT's.
 2        Q.    Some take the SAT's, or is it ACT only?
 3        A.    We take both, you know, which is why we have this
 4    conversion chart.     And they're, you know, as you know,
 5    scaled differently, which makes it harder for people.
 6        Q.    And the scale changes from time to time as well.
 7        A.    Yes, and we've got the scale changing.
 8              And then 2 academic would be someone who would
 9    have scores in the, you know, 680 to high 700's to, you
10    know, one or two in the 800 region.               For many members of
11    the staff, a 2 plus academic -- remember I told you the 2
12    pluses are better than 2's -- would be someone who had, you
13    know, a bunch of 800s and straight A scores but no evidence
14    of the next one I'll tell you about, which is the 1
15    academic.
16        Q.    And what would that be?
17        A.    And a 1 academic is someone who we have good
18    reason to believe, based on, say, awards won, the awards
19    that we're familiar with, which are a fair number of
20    awards, and/or, along with good scores.                  The scores can be,
21    you know, somewhere in the 700s, excellent grades, and some
22    real academic distinction attested somewhere elsewhere of
23    the kind that we can really trust, might be a 1 academic.
24    And they -- in addition to that, for many of these people

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 39 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                  169
                                       Highly Confidential


 1    as an overlap, a 1 academic would be someone who our
 2    faculty said is truly unusual.            So that would be a 1 in the
 3    first column, the academic column.
 4        Q.    Let's talk about the 1 through 4 scale for extra-
 5    curricular activities.       What are the guidelines the office
 6    uses for those?
 7        A.    So for extracurricular activities, it's pretty
 8    rare, I think, to use -- empirically to see a 1
 9    extracurricular, but that's someone who would be, you know,
10    the national debate champion.            Someone might think that was
11    worthy of calling it a 1 extracurricular.
12              In making judgments in the extracurricular column,
13    we always have some -- or pay some attention to the time
14    that the student reports spending on something.                      So if a
15    student was a one-shot in winning some -- you know, having
16    some great activity and then only spent two hours a week on
17    it, we might decide that it's not quite as high to rate.
18    And these are subjective, as everything in the folder is
19    kind of a subjective reading of one person, because someone
20    else might not agree with that.             So I'm giving you a sense
21    of how I might -- might think of something.                      Other people
22    might do it a little differently.
23              But, anyway, to answer your question, so a 2 would
24    be someone who had really -- you know, who was the student

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 40 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                 171
                                       Highly Confidential


 1    20 hours a week taking care of his little sister.                      Then
 2    you're going to give him a kind of credit, which is the way
 3    we think about it, saying, you know, we can't expect or we
 4    couldn't expect; we're happy to see this other activity.
 5    So that's a flag in a way to other readers that that reader
 6    who assigned that was going through and thinking of that as
 7    a kind of value judgment, but different, and putting it in
 8    that folder.
 9        Q.     And then are there guidelines with respect to the
10    allocation of the 1 through 4 standard in the personal
11    category?
12        A.     Yes.   They're not terribly helpful.                   I think
13    "unusual appeal" is I think the phrase we use in their
14    reading instructions.      And, you know, again, readers will
15    construe that in different ways.             And 2 is -- and I'm not
16    going to get the words for that one right; it's something
17    like "very appealing," you know, a very attractive person
18    to be with and have in your school community and widely
19    respected.    And 3 means, you know, just fine.                    I mean we
20    have better language than this.             I don't know what it is.
21    But there are some guidelines for it, yes.                       4 has a
22    meaning.
23        Q.     4 has what, I'm sorry?
24        A.     4 is a kind of negative.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 41 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      172
                                       Highly Confidential


 1        Q.    So the initial read goes through and assigns
 2    numerical notations to each of these four categories for
 3    each application; correct?
 4        A.    Yes.
 5        Q.    And then is there any significance given to the
 6    total of the score?
 7                      MR. WOLFSON:       Objection.
 8        A.    So the -- I like the way that -- not -- not a
 9    total, but there is, as I mentioned before, an overall
10    rating.
11        Q.    Okay.    So how does the overall rating work?
12        A.    So the overall rating is -- and, again, the
13    instruction reading instructions say something about this.
14    Having read the folder, everything that is in the folder at
15    the time that you read it, and having thought about what
16    the strengths of the folder are, the area person is asked
17    to make an overall rating of the excellence and
18    competitiveness, sort of combined, of that candidate.
19              So having read the person who has, you know, good
20    scores and good grades and a high level of, you know, high
21    level of activity in the school, whether it's athletic or
22    whatever it is, and very, very warm, positive admiring for
23    character, whatever it is, personal ratings, that might be
24    some form of a 2 or it might be some form of a 3, depending

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 42 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      173
                                       Highly Confidential


 1    on the strength of the support, taking into account how
 2    strongly the school is endorsing the candidate, how
 3    strongly the extra person who wrote in.
 4              So it's a combination of -- it's a standing back
 5    from the folder and saying, I think this case is at the
 6    moment, with only first reading, let's say for the first
 7    reader, this strong, and then the second reader will come
 8    in and go through the same exercise, perhaps with new
 9    information and perhaps not.
10        Q.    The overall rating score is the same 1 through 4
11    analysis?
12        A.    Yes.   1 through 4.
13        Q.    It's just not necessarily calculated with specific
14    reference to the component pieces?
15        A.    Exactly, yes.
16        Q.    And you say a second reader comes in and basically
17    does the exact same exercise?
18        A.    For a case that is strong enough in the first
19    reader's judgment to be considered in committee, presented
20    in committee and considered in committee, that folder will
21    go to the chairman of the docket, who will also read it and
22    similarly write comments and give his, which might be
23    different, assessment of those various aspects of a case as
24    well as an overall rating.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 43 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      176
                                       Highly Confidential


 1        Q.    -- which would be the --
 2        A.    That would normally be true.
 3        Q.    And what about an assessment of 2?
 4        A.    Normally go to the third, to the chairman.
 5        Q.    Okay.    What about an assessment of 3, an overall
 6    assessment of 3?
 7        A.    One of two things would be likely to happen,
 8    either to go, by the judgment of the first reader, to the
 9    chairman anyway, or it might be not expected to be
10    presented in committee.         It could be later, but it might
11    not be one of the cases that you send on believing that it
12    was absolutely going to seem competitive enough.
13        Q.    So I guess that maybe leads me to a different
14    question, which is:      At some point, is someone's
15    application, essentially the process stops for that
16    application because it's evident that they're unlikely to
17    gain admission?
18        A.    It's funny.      It actually doesn't stop, because
19    throughout the process, and throughout the committee
20    process, which is the next element of the, next chapter of
21    this, we have something called a docket, which is a
22    physical docket, which actually lists all of the applicants
23    and, in annotated form, which we all know how to read,
24    quite a lot of information about that student.

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 44 of 69


                             Marlyn Elizabeth McGrath - June 18, 2015                   177
                                        Highly Confidential


 1              And fairly often an area of a person presenting
 2    two cases from a slate of a school that had four cases,
 3    someone on the docket might say, "But what about her?                     She
 4    looks interesting to me."          And then what the area person
 5    will do is to put that all up on the screen and take the
 6    subcommittee or the committee through it.                    So it's not --
 7    and often new information will change the area person's
 8    judgment about that case in either direction.
 9        Q.    And this is all done -- the process we're talking
10    about here is all done, you know, specifically within a
11    particular geographic area, the docket?
12                     MR. WOLFSON:         Objection.
13                     Go ahead.
14        A.    The first and fullest presentation of cases is
15    often -- the first one is always in subcommittee.
16        Q.    And what do you mean by "subcommittee"?
17        A.    By the -- by the geographic -- I'm sorry -- the
18    geographic regional committee, the one of 20, say,
19    subcommittees we have which are regionally organized.
20        Q.    All right.     So who tends to get or what kind of
21    application profile is going to more often than not get a
22    second read before it goes to the docket head?
23        A.    It's much rarer than it used to be.                     And it really
24    is for people who -- well, in case of a new reader, a new

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 45 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                    178
                                       Highly Confidential


 1    member of the staff, they have to send their first couple
 2    hundred folders to a second reader no matter what.                      That's,
 3    in a sense, part of the training exercise.                       And, yes,
 4    that's what happens in early action, because that's almost
 5    always their first event, their first round.                      So there are
 6    those.
 7              But a case where, let's say, there's poetry in the
 8    folder and the school likes the poetry, and you know that
 9    somebody else in the docket who's not the chair loves to
10    read poetry, you would make sure that she got to see that.
11    Or someone who had a special interest in certain kinds of
12    mathematical stuff or certain kinds of scientific stuff.
13    So if you knew the special reason why another member of the
14    docket, not the chair, could illuminate and find reasons to
15    help that case go more forward, which is always the impulse
16    throughout this process, to find reasons to admit, then you
17    might well go for a second reading before the third.
18        Q.    Once the docket head reads -- does the docket
19    head, the third reader, perform the same numerical
20    analysis?
21        A.    Yes.
22        Q.    And all the same scores, categories, guidelines,
23    apply?
24        A.    Yes.   But the judgment of the person may have a

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 46 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      179
                                       Highly Confidential


 1    different opinion.
 2        Q.    The result may be different?
 3        A.    The result may be different, yes.
 4        Q.    Applied by different --
 5        A.    But the same thinking.
 6        Q.    And what happens at that point?
 7                     MR. WOLFSON:        Objection.
 8        A.    Procedurally, after the second reader, the
 9    chairman has read the folder, he or she codes it out, that
10    is to say, assigns his own overall rating form, and then
11    typically moves the folder to, depending on his or her
12    judgment of the folder, moves it to -- well, to committee
13    review, which means that at the time that we prepare for
14    actual presentation of cases in committee, the area person,
15    who's now deciding which cases to pull and review, refresh
16    himself on for committee, will know those ratings, and it
17    will be available again to the -- to the -- to the person
18    to present in committee.        So what happens is that that's
19    the last -- typically the last reading in the reading
20    process before committee.
21        Q.    And when it's coded out, does the code, as it goes
22    up to committee, is that only the docket head's code, or
23    does that include both --
24        A.    It includes both.         So you see them both.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 47 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                  180
                                       Highly Confidential


 1        Q.    And are the docket heads given any greater
 2    significance than the first reader in terms of how it's
 3    evaluated down the road?
 4        A.    Not really.      Because our committee process is a
 5    one-man/one-vote process.          People will vote -- first of
 6    all, people don't tend to take other people's authorities
 7    as a judgment.     They want to hear the case.                    But I don't
 8    think that it matters.        I don't think that either is
 9    weighted in either direction, no.
10        Q.    And you said at the point that it goes to
11    committee, a physical docket is prepared?
12        A.    A physical docket is prepared.
13        Q.    And what does that look like?
14        A.    It has a list of names.             They're sorted by schools
15    within states.     And many dockets have several states, so
16    they're, you know, the region, and then states within it,
17    and then schools organized within that, and then a list of
18    the candidates alphabetically, a list of the candidates
19    from that school with certain salient information like test
20    scores, grades, parents alive/dead, college graduates from
21    when, parental occupation, ethnicity, citizenship, intended
22    field of concentration if we know it from the candidate,
23    intended extracurricular activities if we know it from the
24    candidate, and some coding, which I can also mention, of

                                         O'Brien & Levine
                              888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 48 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015        181
                                       Highly Confidential


 1    the readers' estimates of the strength of the other
 2    components of the folder, like the three letters I've
 3    mentioned, the secondary school letter and the two teacher
 4    letters, which are coded for strength of endorsement.
 5        Q.    Is all this information drawn from the --
 6        A.    Drawn from the folder and from the evaluations
 7    made by the readers we've been talking about.
 8        Q.    Okay.    Would there be any new information that
 9    appears for the first time on the docket that wouldn't be
10    in the applicant file?
11        A.    Well, it would all be in the file, but it's
12    possible, for example, that the last time it was read by
13    one of the people on the docket, it's possible that after
14    that time, the music rating will have come in, and that
15    will be, we have a place for that, 1 or a 2, we have a
16    place for new information that's evaluated.
17        Q.    When you said --
18        A.    So music and dance --
19        Q.    Would send in an evaluation from a faculty member
20    or somebody who --
21        A.    Yes.
22        Q.    -- specializes in that area?
23        A.    Somebody who specializes in music or dance.            We
24    actually don't use a number to interpret the faculty

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 49 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015          182
                                       Highly Confidential


 1    comment.    We use the commentary.           They don't typically use
 2    numbers.
 3        Q.     Why is the docket organized by school?
 4        A.     Because that's the way that we present the cases.
 5    We do it geographically.        And then we're comparing, you
 6    know, teachers who may have seen all the same candidates,
 7    we're comparing -- typically they have the same guidance
 8    counselor or some number of guidance counselors who know
 9    more than one candidate.
10        Q.     As part of the admissions process, does Harvard
11    take into account how students line up in an individual
12    school and how they compete with one another?
13        A.     We look at class rank, not as a determinant,
14    because we're not -- it doesn't determine anything, but we
15    like to see how people compared to other candidates.             We
16    also like to see when we're looking at extracurriculars, we
17    can see who the people were who were more significant in
18    the school's common life, perhaps.
19        Q.     So what happens as part of the committee process?
20                     MR. WOLFSON:        Objection.
21                     Go ahead.
22        A.     The area person presents the cases that he thinks
23    are strong or that anybody else in the committee wants to
24    hear about.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 50 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                   183
                                       Highly Confidential


 1        Q.     Let me actually stop right there.                     Who is on the
 2    committee?    Who constitutes the committee?
 3        A.     So this committee we're describing, this
 4    subcommittee, this regional committee, that's the same
 5    thing, are the several members of our staff who have
 6    admissions responsibilities for candidates from those
 7    areas, including the area person or persons from that
 8    docket, and the -- and the chairman of the docket who has
 9    read all of the stronger cases, all of the cases sent by
10    any of the readers who thought that these were cases to
11    compare.
12        Q.     And is the docket head the one who actually
13    presents the cases to the group?
14        A.     The person who presents the cases is the first
15    reader, the person who really owns the relationship with
16    that school.
17        Q.     And are readers assigned to specific schools?                    In
18    other words --
19        A.     Yes.
20        Q.     -- will the same first reader --
21        A.     Yes.
22        Q.     -- read all of the applicants from --
23        A.     Yes.
24        Q.     Just try to wait until I'm done.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 51 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      184
                                       Highly Confidential


 1        A.    Yes.
 2        Q.    -- from one high school?
 3        A.    Yes.
 4        Q.    The -- does this -- is this an actual meeting
 5    around a table?     Is this how the committee does its
 6    business?
 7        A.    Yes.
 8        Q.    And then what -- what is the consideration process
 9    and/or outcome of the committee meeting and the
10    presentation?
11        A.    In a case that is appealing enough in that
12    committee's judgment to forward to the full committee,
13    which is the next stage, we take a series of votes to
14    see -- to see whether most people on the committee, which
15    could be this big, how many people would vote to admit this
16    person, as a tentative recommendation, and how many people
17    would not.    And if most people on the committee would vote
18    to forward this person to the full committee, then we make
19    notes on the docket and notes in the database that, at that
20    moment, this person is going to be recommended to be
21    considered by the full committee.              That's at this
22    presentation stage of cases.
23        Q.    I don't mean to go back in time, but let me just
24    jump back to the initial assessment in the four categories,

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 52 of 69


                              Marlyn Elizabeth McGrath - June 18, 2015         185
                                         Highly Confidential


 1    academic, personal.       In the academic category, is any of
 2    that scoring altered on account of the race or ethnicity of
 3    an applicant?
 4                       MR. WOLFSON:        Objection.
 5        A.     No.
 6        Q.     You said that race or ethnicity is listed as an
 7    attribute on the docket for part of the subcommittee
 8    hearing?
 9        A.     It is present on the docket that the students --
10    the applicant's choice of ethnicity is on the docket.
11        Q.     Okay.    Is that discussed during the subcommittee
12    meetings?
13        A.     It may be.
14        Q.     How would it be discussed?
15        A.     Depending on the case.             It may be that -- that a
16    feature of the case is actually what was unusual in some
17    sense about their ethnicity or their -- how that affected
18    their experience or their perception of their experience.
19    It may be in a case in which it seemed to be a plus factor.
20        Q.     What do you mean by "a plus factor"?
21        A.     A plus factor is where it seemed to be one of the
22    attributes that makes the case attractive, like along with
23    achievements or strong support from the school.
24        Q.     As part of the subcommittee process, would there

                                          O'Brien & Levine
                               888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 53 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      186
                                       Highly Confidential


 1    be discussion and/or assessment of a plus factor with
 2    respect to the ultimate class that Harvard is trying to
 3    build, as opposed to the individual applicant?
 4        A.    It would be entirely about the individual
 5    applicant.
 6        Q.    At any point during the subcommittee presentation,
 7    is there a discussion about the greater balance or makeup
 8    of the class that Harvard is trying to admit?
 9        A.    Not in the subcommittee phase.
10        Q.    Is there a new score that comes out of the
11    subcommittee phase?
12        A.    No.
13        Q.    It's just a question of advancement, essentially,
14    to the full committee?
15        A.    Yes.
16        Q.    Either go in or you don't?
17        A.    Yes.
18        Q.    And so the next step in the process is the full
19    committee?
20        A.    Yes.   But before we get to the full committee,
21    after the subcommittee has made its series of
22    recommendations, it may go back to the beginning and say,
23    you know, in the beginning of the, let's say -- well, it's
24    a one-day meeting, in early actions, we're describing early

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 54 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015             187
                                       Highly Confidential


 1    action.   "Earlier today this case seems very strong.              Now
 2    she seems much less strong.          We'll have to perhaps note
 3    that that case may be vulnerable."               So there may be some
 4    fine-tuning to the degree of the recommendations.                But the
 5    next phase is the full committee.
 6        Q.    Does the subcommittee discuss any differences in
 7    the individual category assessments that the first reader
 8    and the third reader may have noted?
 9        A.    It depends on the case.            I mean if -- the comments
10    of the readers will be clear to the committee, they'll be
11    up on the screen, or people can read them on their
12    computers now.     So if in the presentation of the case the
13    area person says, "I still think that this is a very
14    unusual school citizen," and the person who chaired the
15    committee is less impressed by that, that difference may
16    get some discussion.
17        Q.    So after the fine-tuning that you discussed, is
18    the next step the proceeding of consideration of
19    applications by the full committee?
20        A.    Yes.
21        Q.    So who's on the full committee?
22        A.    That's all of the people I mentioned to you from
23    all of the -- all of such people from all 20 -- all, call
24    it, I think it's -- that's the entire group of people who

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 55 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      188
                                       Highly Confidential


 1    have any role in reading applications, either as first
 2    readers, as area people, or as docket chairs.
 3        Q.    And is it the full committee meetings that members
 4    of the standing committee are also invited to attend?
 5        A.    They are invited to all of these meetings.
 6        Q.    How often are these meetings happening during the
 7    admissions cycle?
 8                     MR. WOLFSON:        Objection.          Are we
 9              still talking about early action?
10                     MR. STRAWBRIDGE:           Talking about early
11              action, yes.
12                     MR. WOLFSON:        Okay.
13        A.    In early action, these meetings happen every day
14    from the beginning -- but not Sundays -- from the beginning
15    of early action, which is typically just a little before
16    Thanksgiving these days, and continues until the early part
17    of December.    Decisions are sent around the 15th of
18    December.
19        Q.    And is it subcommittee meetings in the morning and
20    full committee meetings in the afternoon or --
21        A.    No.
22        Q.    -- how is that divided up?
23        A.    The subcommittee meetings, once they are complete,
24    once the last scheduled subcommittees have met and made

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 56 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015           189
                                       Highly Confidential


 1    their recommendations, we then move to the last, the final
 2    phase of full committee.
 3        Q.     So, for example, in the early action phase from
 4    Thanksgiving through sometime in December, you're going to
 5    have nothing but subcommittee meetings for the first couple
 6    of weeks?
 7        A.     Right.
 8        Q.     And once all the subcommittee meetings are
 9    complete, only then does anyone have a full committee
10    meeting?
11        A.     Yes.
12        Q.     So does everybody attend all committee and
13    subcommittee meetings?
14                      MR. WOLFSON:       Objection.
15        Q.     Everybody in a particular docket area for
16    subcommittee, for example?
17        A.     Everybody on the docket that he or she is assigned
18    attends those meetings, must attend those meetings.
19        Q.     It's required?
20        A.     It's expected.
21        Q.     What if someone is sick or out of the office for a
22    vacation?
23        A.     Then you deal with it.           Vacation wouldn't be okay.
24        Q.     I assume this would not be a time of year where

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 57 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015            190
                                       Highly Confidential


 1    people are expected to take vacation?
 2        A.     They would be expected not to take vacation.             You
 3    never know.
 4        Q.     But family emergency, sickness, that might excuse
 5    someone?
 6        A.     We are prepared to deal with that, of course, and
 7    we'll find a way to work with that.
 8               And then immediately after the conclusion of the
 9    final subcommittee meeting, we begin the process of full
10    committee to consider the strong cases.
11        Q.     So tell me how the full committee meeting works.
12                      MR. WOLFSON:       Objection.
13                      Go ahead.
14        A.     Those cases that have been recommended for
15    admission are all discussed as long as -- as well as any
16    other cases that people in that full committee, large
17    committee of perhaps 40 people, want to raise and hear
18    about.   And through a series of votes, decisions are made
19    with all of those possible candidates in mind.
20        Q.     Let me just step back to the subcommittee meeting.
21    Is there a vote -- is there a majority vote requirement to
22    admit someone to full committee, or is there somewhat of a
23    threshold?
24        A.     Yes.   Well, majority vote, but if the number is

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 58 of 69


                              Marlyn Elizabeth McGrath - June 18, 2015                192
                                         Highly Confidential


 1        Q.    With that, some subset of that 1100 number in mind
 2    for the early action candidates?
 3                      MR. WOLFSON:         Objection.
 4        Q.    Is it 1100?       What was the number of beds, you
 5    said?    I apologize.
 6        A.    1664 next year.
 7        Q.    1664.    Let me not make that mistake again.                   I'll
 8    write it down.
 9        A.    But we have two phases, early and regular.
10        Q.    That's right.        And you said there is no firm
11    number for early action?
12        A.    Right.
13        Q.    In your experience, is there a general number that
14    it tends to be at these days?
15        A.    It has ranged widely.             You know, last year we had,
16    you know, about 1100 or something, I mean a thousand, we've
17    had -- in recent years, we've had fewer.                     It hasn't been
18    1,000.    It was like 800 something last year.                     We've had
19    fewer; we've had more.
20        Q.    Do you know what your -- what the rate at which
21    early action decisions are accepted?
22        A.    Retrospectively we do.              We look at it after the
23    process is over.
24        Q.    And what is that typically over the last four or

                                          O'Brien & Levine
                               888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 59 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                193
                                       Highly Confidential


 1    five years?
 2        A.     It's a higher percentage.             It's about, you know,
 3    25 percent.    I may have this wrong.             I'd have to check it,
 4    because it has varied from year to year, depending on the
 5    size of the pool and the strength of the pool.
 6        Q.     You think it's in the overall nature of about 25
 7    percent?
 8        A.     Actually, I think it's in the overall nature of
 9    something like 20 percent or 18 percent.                   I don't remember
10    last year, actually.
11        Q.     As with the subcommittee, is there a docket, a
12    physical docket, prepared for the full committee meeting?
13        A.     Yes.
14        Q.     Does it contain all the same information?
15        A.     Yes.
16        Q.     Okay.   And how are -- how are the candidates
17    presented at the full committee meetings?
18        A.     In a way that's very similar to the presentation
19    at subcommittee.     We use screens that you can see things,
20    and you can also do this on your computer now.                   We -- the
21    area person who's in charge of presenting these cases
22    determines, you know, which ones to talk about.                   Other
23    people can raise questions.          And the chairman of the whole
24    thing, Dean Fitzsimmons, who runs that process of the

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 60 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      196
                                       Highly Confidential


 1        A.    If it was -- seemed to be very underrepresented
 2    compared to, let's say, recent years and so on, that would
 3    be mentioned or given some attention.
 4        Q.    What about overrepresentation?
 5        A.    Overrepresentation is in our system not a notion.
 6    It's underrepresentation.
 7        Q.    What is -- what is the definition of
 8    underrepresentation?
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 61 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      197
                                       Highly Confidential


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 62 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015          207
                                       Highly Confidential


 1        Q.    Would the same be true with respect to a candidate
 2    identified by the office of development as being related or
 3    supported by a substantial donor to Harvard?
 4                      MR. WOLFSON:       Objection.
 5                      I'm sorry.      Go ahead.
 6        A.    Yes, that might be mentioned.
 7        Q.    Is it always mentioned or not always mentioned?
 8        A.    Not always mentioned.
 9        Q.    What influences whether it's mentioned or not, in
10    your experience?
11        A.    If the case -- if the case is a strong competitive
12    case, it may well be mentioned.             If the case is not strong
13    enough to be presented, it won't be mentioned, because the
14    case won't be presented.
15        Q.    Following the preparation of a financial aid
16    package, are there any other steps taken by the admissions
17    office other than communicating an offer of admission to
18    the early action applicants?
19        A.    You mean before -- do you mean before we notify
20    the candidate?
21        Q.    Yes.
22        A.    No.    The -- the step immediately after the
23    preparation of the letter containing financial aid would be
24    the sending of the information.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 63 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015             230
                                       Highly Confidential


 1    the cases in committee, so will everyone else on the
 2    subcommittee.     But that's different from statistical.
 3        Q.    When Ms. Cheng prepares her report for you and
 4    Mr. --
 5        A.    Fitzsimmons.
 6        Q.    Sorry.    Thank you.
 7        A.    That's all right.
 8        Q.    -- you and Mr. Fitzsimmons, did you say that
 9    report includes historic information by race and ethnicity
10    of applicant pools as well as the current applicant pool?
11                      MR. WOLFSON:       Objection.
12                      Go ahead.
13        A.    It may have -- it typically would have last
14    year's.
15        Q.    Okay.    Is it just last year's?               Is it typically
16    limited to that?
17        A.    Yes.    Typically it is limited to that.
18        Q.    Do you recall ever requesting that information to
19    be compiled on a basis longer than the previous year?
20        A.    Yes, we have done that.
21        Q.    Okay.    And when have you done that?
22        A.    Occasionally we have wanted to get a sense of how
23    well our recruitment was doing -- we have not done that
24    lately -- to get a sense of the growth over time.

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 64 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      231
                                       Highly Confidential


 1        Q.    Do you remember when that occurred?
 2        A.    No, not recently, it has not occurred, to my
 3    knowledge.
 4        Q.    Can you describe how race is factored into the
 5    admissions process?
 6                     MR. WOLFSON:        Objection.
 7        A.    Could you be a little more specific about what you
 8    would like to know?
 9        Q.    Well, we've talked a little bit about it, but I
10    guess I'm just trying to get from -- from sort of the
11    initial kind of highest-level perspective what -- to what
12    extent does Harvard consider race when it's making its
13    admissions decisions?
14        A.    The most important thing to say is that when an
15    applicant has applied, each applicant is really considered
16    as an individual, including -- whose candidacy will always
17    include, generally include, many factors, family
18    background, which will include whatever we know of race,
19    whatever else we know about family circumstances and
20    education, whatever we can know about the nature of the
21    school and the kind of community the student grew up in.
22    Those context features, those features of the student's
23    setting are always important to us in imagining how well
24    he's achieved in the circumstances that he started with to

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 65 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                    232
                                       Highly Confidential


 1    us as a candidate.     And race or ethnicity is often -- I
 2    mean is certainly part of our comprehension of that
 3    candidate.
 4        Q.    Besides the comprehension of an individual
 5    candidate, to what extent, if any, does Harvard desire to
 6    ensure that the overall makeup of a particular class
 7    reflects a particular racial composition?
 8        A.    We are not very interested -- we are not
 9    interested in racial composition per se.                   We are very
10    interested in, for each class, assembling a diverse group
11    of people along various ways you could measure that,
12    ethnicity being one, but also geography and -- things we've
13    talked about, geography, field of concentration.                     We want
14    to make sure that in the final enrolling class that there's
15    a mix of -- a mix of people and a mix of experiences and,
16    we like to think, a mix of perspectives.
17        Q.    Is race a more or less important factor with
18    respect to diversity than geographic distribution?
19        A.    You know, I couldn't make a general statement
20    about that.    It really depends on the case.                    In some -- for
21    some candidate, he may be a very rare example of a certain
22    kind of Alaskan candidate.          That context may be a feature
23    of the case that the area person will keep emphasizing and
24    the committee might keep responding to or not.                      In another

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 66 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015      276
                                       Highly Confidential


 1    admissions rate.
 2        Q.    Okay.    Can you explain why Asian-American numbers
 3    during this period of time reflected in this chart are
 4    consistently between 17.6 percent and 20.7 percent on a
 5    year-by-year basis?
 6        A.    Can I explain why they vary between -- why they
 7    vary across that range of whatever it is, 3 percent?
 8        Q.    Can you explain why the disparities aren't greater
 9    if the overall admissions rate of Asian-Americans is not
10    managed to a particular target of roughly 19 to 20 percent?
11        A.    No, I can't explain it.            I can observe that
12    whatever a chart that was accurate like this purporting --
13    that actually showed the results that this table purports
14    to show would represent, the only thing I can say certainly
15    about such a chart is that it would reflect the sum total
16    of that year's individual admissions decisions.
17        Q.    So to the extent that over the -- over a eight-
18    year period -- I'm sorry -- a nine-year period, these
19    admissions rates, for example, for Asian-Americans between
20    17.6 percent and 20.7 percent, that would be -- that's
21    merely the product of the individual assessment in each of
22    those years?
23        A.    Well, it's certainly the result, the product of
24    the individual assessment, each of which was made under

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 67 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015             277
                                       Highly Confidential


 1    whatever conditions it was made under, but yes.
 2        Q.    And you don't believe that an individual
 3    assessment of each applicant during the years wouldn't
 4    produce a much broader variance than that reflected in this
 5    chart here?
 6                     MR. WOLFSON:        Objection.
 7        A.    I would not expect it to produce a greater
 8    variance.
 9        Q.    Why not?
10                     MR. WOLFSON:        Objection.
11        A.    In a competitive process, we have a large number
12    of very strong applicants.          Some of that is the product of
13    our own recruitment of significant numbers of strong
14    applicants.    They compete against each other.                  We have
15    expressed, as we've discussed, an interest in diversity,
16    ethnic and otherwise.      And in such a competitive
17    environment, bearing in mind those things, diversity in all
18    the ways we've discussed it, I am not surprised that these
19    are, from one point of view, relatively stable numbers, but
20    from my point of view, there are differences in there.
21        Q.    When you say "they compete against each other,"
22    are Asian-American applicants, for example, assessed
23    against other Asian-American applicants in the pool in any
24    given year?

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 68 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015               278
                                       Highly Confidential


 1        A.    No.   They are assessed individually.
 2        Q.    Did you not testify earlier that it was important
 3    for you to have basically the cream of the crop among the
 4    various racial groups in any given applicant pool?
 5        A.    We want to make sure that we aren't missing on --
 6    one of the major considerations in recruitment is to make
 7    sure that you're not missing out on reaching out to the
 8    very top, you know, academic candidates from any group.
 9    This is a starter for our recruitment.                 So, yes, we want to
10    make sure that we have best of's, for a starter, hoping
11    that we'll have lots of people who won't have turned up on
12    those searches.
13        Q.    But in trying to achieve a racially diverse class
14    as a whole, at some point there isn't a ceiling on a number
15    of Asian-Americans that Harvard is willing to admit in a
16    given year?
17        A.    There is no ceiling on the number that we're
18    willing to admit in a given year.
19        Q.    It just so happens that every single year it's
20    gone no higher, at least on this chart, if it's correct,
21    it's gone no higher than 20.7 percent?
22                     MR. WOLFSON:        Objection.
23        A.    And the number of admits in any given year from
24    any group reflecting, as it does, the sum total of the

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
     Case 1:14-cv-14176-ADB Document 419-1 Filed 06/15/18 Page 69 of 69


                            Marlyn Elizabeth McGrath - June 18, 2015                  300
                                       Highly Confidential


 1    COMMONWEALTH OF MASSACHUSETTS                                    SUFFOLK, SS.
 2
 3                    I, JAMES A. SCALLY, RMR, CRR, a Certified
      Shorthand Reporter and Notary Public duly commissioned and
 4    qualified in and for the Commonwealth of Massachusetts, do
      hereby certify that there came before me on the 18th day of
 5    June, 2015, at 9:00 a.m., the person hereinbefore named,
      MARLYN ELIZABETH McGRATH, who provided satisfactory
 6    evidence of identification as prescribed by Executive Order
      455 (03-13) issued by the Governor of the Commonwealth of
 7    Massachusetts, was by me duly sworn to testify to the truth
      and nothing but the truth of her knowledge concerning the
 8    matters in controversy in this cause; that she was
      thereupon examined upon her oath, and her examination
 9    reduced to typewriting under my direction; and that this is
      a true record of the testimony given by the witness to the
10    best of my ability.
                      I further certify that I am neither
11    attorney or counsel for, nor related to or employed by, any
      of the parties to the action in which this deposition is
12    taken, and further, that I am not a relative or employee of
      any attorney or counsel employed by the parties hereto or
13    financially interested in the action.
14
15           My Commission Expires:          April 8, 2022
16
17
18                                    _________________________
                                      James A. Scally, RMR, CRR
19                                    CSR/Notary Public
20
21
22
23
24

                                        O'Brien & Levine
                             888.825.3376 - mail@court-reporting.com
